Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 1 of 26 PageID #: 782




                         EXHIBIT 5
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 2 of 26 PageID #: 783




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   ALL-OPTIONS, INC.; et al.,                          )
                                                       )
                 Plaintiffs,                           )
                                                       )
          v.                                           )
                                                       )   Case No. 1:21-cv-1231-JPH-MJD
   ATTORNEY GENERAL OF INDIANA, in his                 )
   official capacity, et al.,                          )
                                                       )
                 Defendants.                           )
                                                       )
                                                       )



                        DECLARATION OF DR. DONNA HARRISON


         I, Donna Harrison, M.D., pursuant to the provisions of 28 U.S.C. § 1746, do hereby declare

  as follows:

         1.     I, Donna Harrison, M.D., am a physician licensed to practice medicine in

  Michigan, I am certified by the American Board of Obstetricians and Gynecologists, and I have

  held this certification since 1993. I graduated from the University of Michigan Medical School

  in 1986, and I completed residency training in Obstetrics and Gynecology in 1990 at St. Joseph

  Mercy Hospital (a University of Michigan affiliate hospital in Ypsilanti). I entered private

  obstetrical practice in 1991 in Ann Arbor. I also served as Associate Professor in the Department

  of Obstetrics and Gynecology at the University of Michigan until 1993 when I joined a

  multispecialty group in an underserved rural area of Michigan. I continued in private practice in

  this underserved area, including serving as a sexual abuse examiner for Cass County, Michigan,
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 3 of 26 PageID #: 784




  until 2000. Further details of my training and professional background are given in my resume,

  attached as Exhibit A.

          2.       Since 1996, I have closely scrutinized the U.S. Food and Drug Administration

  (FDA) approval process for Mifeprex (mifepristone), and I have conducted significant research

  into the safety and efficacy of abortion-inducing drugs, authoring several papers on the subject.

  From 2000 until 2006, I was Chairman of the Subcommittee on Mifeprex for the American

  Association of Pro-Life Obstetricians and Gynecologists (AAPLOG). Since 2000, I have focused

  my professional activities on teaching, writing, and research for AAPLOG. Since 2013, I have

  served as AAPLOG's Executive Director and since 2021 serve now as Chief Executive Officer.

          3.       I spend approximately 50 hours per week reviewing the medical literature for the

  effects of abortion on women, teaching physicians and other health care personnel about the

  medical literature, and making that information known by way of scientific publication and

  through the AAPLOG website. I have devoted particular attention to abortions performed

  through the administration of drugs.

          4.       In the past four years, I have testified as an expert in cases in Indiana, Missouri,

  Arkansas, Illinois, Oklahoma, Mississippi and Tennessee in both state and federal court.1

          5.       I have been asked by the Indiana Attorney General to opine regarding All-Options,

  Inc. v. Attorney General of Indiana, No. 1:21-cv-1231 (S.D. Ind.), a legal action brought against

  various Indiana officials. The complaint challenges several aspects of Indiana law. I have been

  asked to opine regarding the provision that abortion providers are required to inform medication

  abortion patients that “[s]ome evidence suggests that the effects of Mifepristone may be avoided,



  1
   See, e.g., Planned Parenthood Ark. and E. Okla. v. Jegley, No. 4:15-cv-00784-KGB, 2018 WL 3816925 (E.D. Ark.
  2018); Little Rock Fam. Plan. Servs. v. Rutledge, 397 F. Supp. 3d 1213 (W.D. Ark. 2019) (appeal pending in the 8th
  Cir.); Tulsa Women's Reprod. Clinic, LLC v. Hunter, No. CV-2019-2176 (Ok. County District Court).
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 4 of 26 PageID #: 785




  ceased, or reversed if the second pill, Misoprostol, has not been taken.”2 I am being compensated,

  pursuant to an expert services contract, at three hundred fifty dollars ($350.00) per standard hour

  worked, and will be compensated four thousand dollars ($4,000.00) per day for testimony given

  at any deposition, hearing, or trial of the lawsuit.

          6.      The opinions I express in this declaration are based on my education, training,

  experience, and ongoing familiarity with the medical literature. These opinions are my own, and

  do not represent any group.

                                               OPINIONS

          7.      I have reviewed the challenged Indiana law requiring doctors to inform

  medication abortion patients that the effects of mifepristone may be able to be reversed. I have

  also reviewed the Plaintiffs’ complaint and medical testimony. Although there are many subjects

  that could be addressed within a longer time frame, I will focus this declaration on two important

  topics: I) the scientific basis for effective progesterone administration after mifepristone intake

  (i.e. “reversal”), and II) the criticisms of the Davenport and Delgado publications.

  I.      There is scientific support for effective progesterone administration after
          mifepristone, which is otherwise known as abortion reversal
          8.      Mifepristone (a.k.a. RU-486 or RU-38486) is a drug that blocks the action of a

  natural pregnancy hormone called progesterone by binding with a woman’s progesterone

  receptors on the nuclear membranes of cells in the uterus, ovary, brain, breast, and immune

  system. With mifepristone blocking the connection of progesterone with progesterone receptors

  in the uterus of a pregnant woman, the mother's cells in the placenta stop functioning, which in

  turn eventually leads to the death of the embryo through, in essence, starvation.3



  2
   P.L. 218-2021 § 4(a)(1) ( 2021).
  3
   E.E. Baulieu & S.J. Segal, The Antiprogestin Steroid RU486 and Human Fertility Control, Proceedings of a
  Conference on the Antiprogestational Compound RU486. Oct 23-25. Bellagio Italy. Published in the series P
  Reproductive Biology 1984 Sheldon Segal Series Editor 1985 Plenum Press.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 5 of 26 PageID #: 786




           9.      Embryonic death is not inevitable, however. Mifepristone, by itself, fails to kill

  the fetus in a significant percentage of cases. (The specifics of that percentage I will discuss

  below.) This is why women are told to administer the drug misoprostol afterward, to make the

  procedure more effective.

           10.     Indiana’s House Enrolled Act No. 1577 requires abortion providers to inform

  women that “[s]ome evidence suggests that the effects of Mifepristone may be avoided, ceased,

  or reversed if the second pill, Misoprostol, has not been taken” 4 Indiana’s use of the word “may”

  is particularly notable, as it is a measured term that calls to mind scientific possibility rather than

  absolute scientific proof. Notably, Plaintiffs’ expert Schreiber misconstrues the wording of the

  statute, ignoring the word “may” and inserting instead the word “can”.5

           11.     Yet Indiana does not state that the effects of mifepristone can be avoided, ceased,

  or reversed, but rather that the effect of mifepristone may be avoided, ceased, or reversed. And

  based on the known evidence, it is untenable to deny that there is at least a possibility that

  progesterone reversal actually works. Based on the available scientific evidence, reversal is

  indeed possible.

           12.     To be precise, the available evidence, discussed more thoroughly below, shows

  that after mifepristone is taken, its effects can be countered and potentially minimized if a woman

  is given high amounts of natural progesterone, 6 as long as this progesterone is administered

  within 72 hours of taking mifepristone. Progesterone and mifepristone competitively bind to the

  same receptor in cells, but this binding is reversible. 7 If there is enough progesterone, the



  4
    P.L. 218-2021 § 4(a)(1) ( 2021).
  5
    ECF No. 53-6, Decl. of Courtney A. Schreiber, M.D., M.P.H. ¶ 21.
  6
    American Association of Pro-Life Obstetricians and Gynecologists, Practice Bulletin 6: The reversal of the effects
  of mifepristone by progesterone (Nov. 6, 2019), https://aaplog.org/wp-content/uploads/2020/01/FINAL-PB-6-
  Abortion-Pill-Reversal-1.pdf.
  7
    C.H. Spilman et al., Progestin and Antiprogestin Effects on Progesterone Receptor Transformation, 24 J. STEROID
  BIOCHEMISTRY 1, 385-389 (1986).
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 6 of 26 PageID #: 787




  progesterone out-competes the mifepristone at the level of the progesterone receptor, acting in

  the same manner as an antidote to a toxicant (i.e., a poison).

             13.      In attacking this “reversal” proposition, the Plaintiffs’ experts focus almost

  entirely on undermining two publications by Dr. George Delgado, released in 2012 and 2018,

  respectively. I will talk about those works shortly, as they are important. But first, I want to

  discuss a number of other scientific points that are ignored or glossed over—points that provide

  scientific evidence of the logic and feasibility of progesterone reversal of a mifepristone

  blockade.

             14.      First, this proposition was not conjured out of thin air. Understanding the scientific

  principles underlying the use of progesterone to block mifepristone action requires defining some

  basic terms in biochemistry. One of those terms is substrate. “A substrate is a molecule acted

  upon by an enzyme. A substrate is loaded into the active site of the enzyme, or the place that

  allows weak bonds to be formed between the two molecules. An enzyme substrate complex is

  formed, and the forces exerted on the substrate by the enzyme cause it to react and become the

  product of the intended reaction. The bonds that form between the substrate and enzyme cause

  the conformational change, or shape change, in the enzyme. The resulting shape change is what

  applies pressure to the substrate, either forcing molecules together or tearing them apart.”8 It is

  understood, generally, that competitive inhibitors (like mifepristone) that replace and block out

  substrates (like natural progesterone) may be thwarted if there is enough substrate around. An

  important principle to remember is that mifepristone binding is competitive and reversible. A

  reversible reaction is “A chemical equation of the form A ® B represents the transformation of

  A into B, but it does not imply that all of the reactants will be converted into products, or that the

  reverse reaction B ® A cannot also occur. In general, both processes can be expected to occur,


  8
      Substrate, Biology Dictionary (Apr. 28, 2017), https://biologydictionary.net/substrate/.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 7 of 26 PageID #: 788




  resulting in an equilibrium mixture containing all of the components of the reaction system.”9

  When mifepristone is present, the mifepristone binds to the progesterone nuclear receptor in the

  cell’s nuclear membrane. While mifepristone is bound to the progesterone receptor, progesterone

  cannot bind. However, mifepristone binding is reversible, and if there is sufficient progesterone

  present, the progesterone can outcompete mifepristone for the receptor site. This is a basic

  principle in biochemistry. “The inhibitor creates a competing equilibrium to that of the substrate

  (S), removing a fraction of the enzyme to an inactive form. Adding more substrate will yield more

  of the active substrate ES form.”10 “ES” stands for Enzyme-Substrate, which in this case is the

  progesterone receptor bound with progesterone. In other words, mifepristone reversal efforts are

  patterned after a known biological phenomenon which is a basic principle in biochemistry.

          15.     As such, it is not surprising when even an admittedly pro-choice abortion doctor

  like Dr. Harvey Kliman, the director of reproductive and placental research unit at the Yale

  School of Medicine, tells the New York Times that mifepristone reversal “makes biological

  sense” and is “totally feasible.” 11 Indeed, Dr. Kliman went so far as to say that “if one of his

  daughters came to him and said she had somehow accidentally taken mifepristone during

  pregnancy, he would tell her to take 200 milligrams of progesterone three times a day for several

  days, just long enough for the mifepristone to leave her system: ‘I bet you it would work.’”12

          16.     This basic medical principle of poison treatment after exposure to a cellular poison

  has been applied elsewhere in medicine. When a person has carbon monoxide poisoning, the

  carbon monoxide binds tightly to the oxygen carrying red blood cells and does not allow the red

  blood cells to carry oxygen. In fact, carbon monoxide binds more tightly to the red blood cells


  9
   Stephen K. Lower, Chemical Equilibrium: A Chem 1 Reference Text, SIMON FRASER UNIVERSITY (Mar. 2013),
  http://www.chem1.com/acad/pdf/chemeq.pdf.
  10
     John W. Pelley, ELSEVIER'S INTEGRATED REVIEW BIOCHEMISTRY 33–34 (2nd ed. 2011).
  11
     Ruth Graham, A New Front in the War Over Reproductive Rights: 'Abortion-Pill Reversal’, N.Y. TIMES MAGAZINE
  (July 18, 2017).
  12
     Id.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 8 of 26 PageID #: 789




  than does oxygen. However, the carbon monoxide can be displaced from the red blood cell when

  enough oxygen is administered.13 Similarly, when the drug methotrexate is given to kill cancer

  cells, for example, it can also kill non-cancer cells. In order to “rescue” those non-cancer cells,

  the drug leucovorin (also known as the vitamin “folinic acid”) is given to out-compete the

  inhibitor, which is methotrexate.14

          17.      Second, in addition to the basic principle of out-competing mifepristone at the

  receptor being sound, the reversibility of mifepristone binding is backed up by manufacturer

  studies as published by Baulieu,15 (one of the developers of the drug mifepristone) as well as

  studies and presentation by Dr. Esther Sternberg,16 (a researcher from the National Institutes of

  Health) looking at reversing the effects of another nuclear receptor which mifepristone also

  binds: the glucocorticoid receptor. Specifically, mifepristone also blocks natural stress hormones

  (glucocorticoids) by binding with glucocorticoid receptors. And using animal models, Sternberg

  reviewed the studies showing that the blockade of mifepristone at the glucocorticoid receptor

  “can be reversed” by the administration of additional glucocorticoids.17

          18.      Third, a study in 1989 (Yamabe) directly indicated that mifepristone blockage of

  progesterone receptors can be overcome by the administration of additional natural




  13
     Ctrs. For Disease Control & Prevention, Clinical Guidance for Carbon Monozide (CO) Poisoning (Nov. 4, 2020),
  https://www.cdc.gov/disasters/co_guidance.html.
  14
     Drug Info: Folinic Acid, Chemocare, http://chemocare.com/chemotherapy/drug-info/folinic-acid.aspx.
  15
     E.E. Baulieu & S.J. Segal, The Antiprogestin Steroid RU486 and Human Fertility Control, Proceedings of a
  Conference on the Antiprogestational Compound RU486. Oct 23-25. Bellagio Italy. Published in the series P
  Reproductive Biology 1984 Sheldon Segal Series Editor 1985 Plenum Press.
  16
      J. L. Webster & E.M. Sternberg, Role of the Hypothalamic-Pituitary-Adrenal Axis, Glucocorticoids and
  Glucocorticoid Receptors in Toxic Sequelae of Exposure to Bacterial and Viral Products, 181 Journal of
  Endocrinology 207-221 (2004); See also Emerging Clostridial Disease Workshop, Food & Drug Administration ,
  23 (June 22, 2006).
  17
     Jeanette I. Webster & E.M. Sternberg, Role of the Hypothalamic-Pituitary-Adrenal Axis, Glucocorticoids and
  Glucocorticoid Receptors in Toxic Sequelae of Exposure to Bacterial and Viral Products, 181 J. ENDOCRINOLOGY
  207–221 (2004).
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 9 of 26 PageID #: 790




  progesterone.18 That study separated pregnant rats into three groups. The first group received no

  drugs, the second group was given mifepristone, and the third group was given mifepristone

  followed by natural progesterone. Every member of the no-drug group delivered live offspring.

  Only 33.3% of the mifepristone-only group delivered live offspring. In the third group, which

  was given mifepristone and then progesterone, 100% delivered live offspring.19 The Plaintiffs’

  doctors do not address this scientific study, which indicates that the blockage of progesterone

  receptors by mifepristone is not permanent but rather reversible.

           19.     Fourth, Plaintiffs’ doctors are also seemingly unaware of a peer-reviewed case

  series out of Australia (Garratt), 20 that was published in 2017 in the European Journal of

  Contraceptive and Reproductive Health Care. Though small, that case series documented similar

  results to Dr. Delgado’s first case series, with two out of three women who attempted reversal

  with progesterone achieving success with live, healthy births.

           20.     Fifth, the scientific literature surrounding the development of mifepristone is

  summarized by the developer (Baulieu)21. Baulieu (at Figure 3 pg. 91) showed in a graph the rate

  at which RU486 could be removed from the progesterone receptor, in the presence of high

  concentrations of progesterone. This pharmacokinetic study clearly shows that mifepristone's

  blockade of progesterone receptors is reversible—not permanent—and that high concentrations

  of progesterone will reverse the binding of mifepristone at the progesterone receptor.




  18
     S. Yamabe et al., The Effect of RU486 and Progesterone on Luteal Function During Pregnancy, 65 Nihon
  Naibunpi Gakkai Zasshi 497 (1989), https://www.jstage.jst.go.jp/article/endocrine1927/65/5/65_497/_article/-
  char/ja/..
  19
     Id.
  20
     Deborah Garratt & Joseph V. Turner, Progesterone for preventing pregnancy termination after initiation of medical
  abortion with mifepristone, 22 EUR. J. CONTRACEPTIVE & REPROD. HEALTH CARE 6472-475 (Dec. 2017).
  21
     E.E. Baulieu & S.J. Segal, The Antiprogestin Steroid RU486 and Human Fertility Control, Proceedings of a
  Conference on the Antiprogestational Compound RU486. Oct 23-25. Bellagio Italy. Published in the series P
  Reproductive Biology 1984 Sheldon Segal Series Editor 1985 Plenum Press.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 10 of 26 PageID #: 791




           21.      In the end, it is not my contention that each of these scientific points by themselves

   prove reversibility is effective. Rather, my opinion is that, even apart from Dr. Delgado's

   publications, they demonstrate that reversibility is scientifically feasible, as it is based on

   scientific principles, facts, studies, and experience.

           22.      Dr. Delgado’s publications document the repeated success of mifepristone

   reversal attempts in large numbers of women. Dr. Delgado published two case series—a small

   one in 2012 22 and a much larger one in 2018. 23 Both indicate that having a woman take

   progesterone shortly after she ingested mifepristone may improve the chances of embryo

   survival.

           23.      The 2012 case series was small in size, reporting on a total of six women who had

   used progesterone after mifepristone. Four of those women went on to complete delivery of live

   born infants. No malformations were observed in the children.

           24.      The 2018 case series was much larger and more substantial. In it, Dr. Delgado and

   his co-authors analyzed the records of 547 women who took progesterone after mifepristone in

   an attempt to reverse the mifepristone effects. Of those 547 women, they found an overall embryo

   survival rate, at 20 weeks gestation of 48%. The authors then analyzed the survival rates based

   on how and in what doses the progesterone was given, and they found a remarkable 68% survival

   rate if the progesterone was taken by mouth or by intramuscular injection.

           25.      Dr. Delgado and his co-authors used a historical control to determine if the 68%

   success rate was any different from what would have happened to women if they had not taken

   progesterone. That historical control was derived from the systematic review by Davenport in




   22
      George Delgado & Mary L. Davenport, Progesterone Used to Reverse the Effects of Mifepristone. 46 ANNALS
   PHARMACOTHERAPY 12, 12 (Dec. 2012).
   23
      George Delgado, et.al., A Case Series Detailing the Successful Reversal of the Effects of Mifepristone Using
   Progesterone, 33 ISSUES IN L. & MED. 21-31 (2018).
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 11 of 26 PageID #: 792




   2017.24 In short, Davenport reviewed all the studies ever published on the outcomes of women

   who had taken mifepristone alone, but not misoprostol. She found fetus survival rates using total

   doses of 200–300 mg of mifepristone ranged from 10% to 23.3%. (The current FDA-approved

   dosage is 200 mg.) In other words, if a woman decides not to take the second pill, and leaves it

   at that, there is a 10% to 23% chance the baby will survive, according to the published peer

   reviewed literature. In contrast, Dr. Schreiber cites only one study, Zheng,25 for her claim that

   the survival rate “may be as high as forty-six percent.”26 In the Zheng study, the authors did not

   perform an ultrasound after taking mifepristone to determine whether or not the fetus survived

   the mifepristone. The study thus cannot tell the difference between a living fetus after

   mifepristone and retained pregnancy tissue after mifepristone. Thus, it is scientifically invalid to

   use the Zheng study as an estimate of the survival of living fetuses after ingestion of mifepristone.

            26.     Wisely, Dr. Delgado and his co-authors chose to use a historical control

   comparator number (25% survival) which was higher than Davenport’s highest number (23.3%).

   Even with this higher estimate, there was a notable difference between the outcome of women

   who did not receive progesterone in the historical control (25%) and the outcome of women who

   received progesterone by the best protocols (68%).

            27.     Dr. Delgado and his co-authors also analyzed their results by gestational age at

   the time of reversal attempt and found that the success rate increased with increasing gestational

   age.

            28.     In addition, Dr. Delgado and his co-authors analyzed the interval of time between

   mifepristone injection and progesterone administration and found that success rates were the



   24
      Mary L. Davenport et al., Embryo Survival After Mifepristone: A Systematic Review of the Literature, 32 ISSUES IN
   L. & MED. 1, 3–18 (2017).
   25
      S.R. Zheng, RU 486 (mifepristone): Clinical Trials in China. 68 ACTA OBSTETRICIA GYNECOLOGICA SCANDINAVICA
   149, 19–23 (1989).
   26
      ECF No. 53-6, Schreiber Decl. ¶ 17.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 12 of 26 PageID #: 793




   same, as long as the progesterone was given within 72 hours of the use of mifepristone. This is

   consistent with what we know about mifepristone, which is that it takes several days to act and

   thus does not kill the embryo immediately. This finding is also consistent with the Yamabe

   study,27 which found that in the rats given mifepristone alone, the level of progesterone in the

   blood began to decrease at 48 hours and continued to decrease at 72 hours. In contrast, where

   mifepristone was followed by progesterone, the progesterone levels were the same at 72 hours

   as the group which had not received anything. Notably, Yamabe's findings contradict Dr.

   Schreiber, who speculates , without support, that embryos with cardiac activity within the first

   72 hours after mifepristone ingestion              have “already withstood the initial effects of

   mifepristone.”28 This is not necessarily the case.

           29.      Dr. Delgado and his co-authors also analyzed safety. For example, they looked at

   the birth defect rate among the 257 women who had reversals and followed up after their delivery.

   They found no increase of birth defects when compared to the general population of births, which

   is consistent with other studies which have found no increase in malformation rate over the

   general population in infants who are born after exposure to mifepristone in utero. 29,30 This

   contradicts the speculative claims by Schreiber that birth defects might result from reversal

   attempts.31 Similarly, Dr. Delgado found that the preterm delivery rate was 2.7%, a number much

   lower than the rate of preterm births in the general population.

           30.      Natural progesterone has routinely been given to women during pregnancy for

   over 50 years. For instance, progesterone administered by various routes is the standard of care


   27
      S. Yamabe et al., The Effect of RU486 and Progesterone on Luteal Function During Pregnancy, 65 Nihon
   Naibunpi Gakkai Zasshi 497 (1989), https://www.jstage.jst.go.jp/article/endocrine1927/65/5/65_497/_article/-
   char/ja/.
   28
      ECF No. 53-6, Schreiber Decl. ¶ 31.
   29
      N. Bernard, et al., Continuation of Pregnancy After First-Trimester Exposure to Mifepristone: An Observational
   Prospective Study, 120(5) BJOG, 568, 568-74 (2013).
   30
      R. Sitruk-Ware, et al., Fetal Malformation and Failed Medical Termination of Pregnancy, 352 LANCET 323 (1988).
   31
      ECF No. 53-6, Schreiber Decl. ¶ 49.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 13 of 26 PageID #: 794




   for women who become pregnant by in-vitro fertilization (IVF). As such, the IVF industry has

   looked carefully to see if there are any indications of an increased risk from natural progesterone

   and have found none. 32 In addition, in women who have progesterone deficiencies in early

   pregnancy for various reasons, it is common to use natural progesterone to supplement the

   deficiency.33

              31.      Dr. Schreiber cites a 2019 study taken from the PRISM database whose

   conclusions state: “Among women with bleeding in early pregnancy, progesterone therapy

   administered during the first trimester did not result in a significantly higher incidence of live

   births than placebo.”34 However, the final full analysis of that PRISM database, by the same

   authors, published in 2020, states: “Progesterone therapy in the first trimester of pregnancy did

   not result in a significantly higher rate of live births among women with threatened miscarriage

   overall. However, an increase in live births was observed in the subgroup of women with early

   pregnancy bleeding and a history of previous miscarriages” (emphasis added).35

              32.      The key to understanding the results of this important PRISM study lies in the

   word “significantly higher.” The actual final results of the PRISM study state: “The live birth

   rate was 75% (1513 out of 2025 participants) in the progesterone group compared with 72%

   (1459 out of 2013 participants) in the placebo group (relative rate 1.03, 95% confidence interval

   1.00 to 1.07; p = 0.08).”

              33.      While it is true that the overall higher survival with progesterone did not meet

   statistical significance, nonetheless, the study did show a higher survival with progesterone, and



   32
        Progesterone: Risks and Benefits, Society for Assisted Reproductive Technology, https: //www.sart.org/patients/a-
   pafients-guide-to-assisted-reproductive-technology/stimulation/progesterone/
   33
      Prac. Comm. of the Am. Soc. for Reprod. Med., Progesterone Supplementation During the Luteal Phase and in
   Early Pregnancy in the Treatment of Infertility: An Educational Bulletin, Fert. Steril. 789 (2008).
   34
      ECF No. 53-6, Schreiber Decl. ¶ 28.
   35
      Arri Coomarasamy, et al., Progesterone to prevent miscarriage in women with early pregnancy bleeding: the
   PRISM RCT, 24 Health Technol Assess. 1-70 (2020).
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 14 of 26 PageID #: 795




   in fact identified a subgroup of women with recurrent miscarriages in which progesterone

   supplementation demonstrating increasing efficacy toward survival:

            A significant subgroup effect (interaction test p = 0.007) was identified for
            prespecified subgroups by the number of previous miscarriages: none (74%
            progesterone vs. 75% placebo; relative rate 0.99, 95% confidence interval 0.95 to
            1.04; p = 0.72); one or two (76% progesterone vs. 72% placebo; relative rate 1.05,
            95% confidence interval 1.00 to 1.12; p = 0.07); and three or more (72%
            progesterone vs. 57% placebo; relative rate 1.28, 95% confidence interval
            1.08 to 1.51; p = 0.004), thus demonstrating a biological gradient by the increasing
            number of previous miscarriages. 36

            34.    In addition, the study found that for later pregnancies:

            [T]here was evidence that progesterone may increase the rate of ongoing pregnancy
            at 12 weeks (83% in the progesterone group vs. 80% in the placebo group; relative
            rate 1.04, 95% confidence interval 1.01 to 1.07; p = 0.01). 37

            35.    And finally, but importantly, the study states: “There was no evidence of a

   difference in the safety outcomes,” 38 which means that there was no evidence of any safety

   concerns with the administration of progesterone in early pregnancy.

   Further, page three of the 2020 publication of the PRISM study also included a review of the six

   previous studies of progesterone supplementation in threatened miscarriage, all of which

   demonstrated that progesterone supplementation increased survival rate. 39 Further, the 2020

   PRISM study goes on to note:

            More recently, a Cochrane review on this question summarized evidence from
            seven studies (see Table 1). The review found that the studies were small with
            methodological weaknesses (the largest study had a sample size of 191) but the
            pooled analysis found a significantly lower risk of miscarriages among women who
            received progesterone than among those who received placebo or no treatment (risk
            ratio 0.64, 95% CI 0.47 to 0.87).40




   36
      Id.
   37
      Id.
   38
      Id.
   39
      Id.
   40
      Id.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 15 of 26 PageID #: 796




           36.     Thus, the 2019 study cited by Schreiber, in its final analysis does not provide any

   evidence that progesterone use after mifepristone is ineffective, and in fact, the 2020 final

   analysis of that database suggests the opposite.

           37.     My point is confirmed by an additional publication in 2020 by the PRISM study

   authors in which they comment on the discrepancy between the conclusions of the 2019 NEJM

   article cited by Schreiber, and their final analysis:

           The New England Journal of Medicine article on the PRISM trial noted a 3%
           increase in live birth rate with vaginal micronized progesterone, but suggested it
           was a negative result, as the P value associated with this finding was
           .08.10 However, our interpretation of the PRISM trial in this review takes into
           account the totality of available evidence, suggesting a potential role for
           progesterone for women at high risk of a miscarriage. We propose the apparent
           discordance      between       the     published New        England      Journal      of
                                  10
           Medicine manuscript and our interpretation relates to the issue of statistical
           inference vs scientific inference. Statistical inference focuses on hypothesis testing.
           Scientific inference, in contrast, not only considers any statistical uncertainty in the
           findings but in addition takes into account the full extent of all other evidence, to
           make a considered judgement. The American Statistical Association (ASA) has
           issued a series of 44 instructive articles on drawing scientific inferences from
           studies.11 Appreciation of the key messages from these ASA articles is essential for
           making clinical sense of the PROMISE and PRISM trials.
           The ASA’s statements recommend that “scientific conclusions or policy decisions
           should not be based on only whether a P-value passes a specific threshold” and “no
           single index should substitute for scientific reasoning.”11 Further, the ASA states
           that “practices that reduce data analysis or scientific inference to mechanical
           ‘bright-line’ rules (such as P<.05, or equivalent confidence intervals) for justifying
           scientific claims or conclusions can lead to erroneous beliefs and poor decision
           making.”11 The ASA notes “a conclusion doesn’t immediately become ‘true’ on
           one side of the divide (P<.05) and ‘false’ on the other,” and the ASA recommends
           that phrases such as “statistically significant” and “statistically nonsignificant” are
           no longer used. Instead, the ASA recommends that researchers bring many
           contextual factors into play to derive scientific inferences, including the design of
           the study, replicability, and other external evidence.41




   41
     Arri Coomarasamy, et al., Micronized vaginal progesterone to prevent miscarriage: A Critical Evaluation of
   Randomized Evidence, 223 AM. J. OBSTETRICIANS GYNECOLOGISTS 167-76 (2020).
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 16 of 26 PageID #: 797




           38.     Schreiber cites a 2015 review of mifepristone research. 42 However, this review

   was published prior to the 2018 chart review by Delgado and in fact does not support the claim

   that progesterone use after mifepristone is ineffective. Rather, it states that there is insufficient

   evidence in 2015. Similarly, the 2018 article cited by Schreiber does not support the claim that

   progesterone is not effective, but rather confuses statistical and scientific inferences, as I

   addressed above in the quotation from the authors of the PRISM study.

           39.     Schreiber quotes a 2020 publication from ACOG which states: “[t]here is no

   evidence that treatment with progesterone after taking mifepristone increases the likelihood of

   the pregnancy continuing.”43 However, in that same document, 44 ACOG contradicts itself by

   citing studies which provide evidence that supplementation with the synthetic progestin depo-

   provera does in fact lead to an increase in ongoing pregnancies:

           Concern has been raised that the immediate use of hormonal contraception that
           contains progestins could theoretically interfere with medication abortion efficacy.
           Etonogestrel implant use does not affect medication abortion outcomes (121, 122).
           However, DMPA injection at the time of mifepristone administration may slightly
           increase the risk of an ongoing pregnancy (119). In a randomized trial that
           evaluated the effects of DMPA injection timing on medication abortion outcomes,
           ongoing pregnancy was more common among those randomized to receive DMPA
           injection on the day of mifepristone administration compared with those who
           received DMPA at a follow-up visit (3.6% versus 0.9%; 90% CI, 2.7 [0.4–5.6]).45
   So, in fact, ACOG, in the same practice bulletin, is acknowledging the fact that the progestin

   compound, depo-provera, increases the rate of ongoing pregnancies after mifeprex while

   providing evidence that use of progesterone-like compounds shortly after mifeprex can lead to

   an increase in ongoing pregnancies.




   42
      ECF 53-6, Schreiber Decl. ¶ 43.
   43
      Id. ¶ 46.
   44
       Am. Coll. of Obstetricians & Gynecologists and Soc’y of Family Planning, Practice Bulletin No. 225:
   Medication Abortion up to 70 Days of Gestation, 136 OBSTETRICS & GYNECOLOGY 1, 3 (2020).
   45
      Id.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 17 of 26 PageID #: 798




           40.      An additional study, quoted by Schreiber, actually demonstrates the effectiveness

   of progesterone to reverse the effects of mifepristone.46 The study by Creinin involved, at the

   end, a total of ten patients. Five of these ten patients received mifeprex and placebo. The other

   five received mifeprex and natural progesterone. The study results state:

           Among the remaining 10 patients (five per group), gestational cardiac activity
           continued for 2 weeks in four in the progesterone group and two in the placebo
           group.47
   That means that four out of the five patients in the progesterone group, i.e., 80%, had a living

   fetus at two weeks after progesterone.

            41.     In contrast, two out of the five patients who did not receive progesterone, i.e.,

   40%, had a living fetus at two weeks after progesterone. So, progesterone supplementation

   doubled the rate of survival in this small trial.

            42.     What is even more interesting is the examination of those women who had

   hemorrhage. The results state:

           Severe hemorrhage requiring ambulance transport to hospital occurred in three
           patients; one received progesterone (complete expulsion, no aspiration) and two
           received placebo (aspiration for both, one required transfusion).48

   So, in the group of five women who received progesterone, one woman went to the ER with

   hemorrhage; her hemorrhage, however, had stopped by the time she reached the ER, and she

   received no treatment.

            43.     In contrast, out of the group of five women who did not receive progesterone, two

   women ended up in the ER. Both had to have emergency D&Cs to stop the bleeding and one of

   them ended up with a transfusion. The study was stopped for safety considerations due to



   46
      ECF No. 53-6, Schreiber Decl. ¶ 50.
   47
      Creinin , M.Y. Hou , L. Dalton , R. Steward , M.J. Chen , Mifepristone Antagonization With Progesterone to Prevent
   Medical Abortion: A Randomized Controlled Trial, Obstetricians Gynecology, (Jan. 2020) .
   48
      Id.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 18 of 26 PageID #: 799




   hemorrhage in the group that did not receive progesterone. The authors, in an amazing feat of

   gymnastics, speculated that the cause of the hemorrhage was a lack of the second drug,

   misoprostol. But that conclusion is incoherent and unsupported by their data, as the group which

   received progesterone and did not receive misoprostol, had a lower hemorrhage rate and no need

   for surgical intervention.

           44.     In fact, the speculation that a lack of misoprostol is the reason for hemorrhage is

   not supported by a recent analysis of all adverse events submitted to the FDA after the use of

   mifepristone as an abortifacient.49 In that review, the rate of hemorrhage for women who received

   both mifepristone and misoprostol was higher than the rate of hemorrhage for women who

   received misoprostol alone.50 The results state: “Hemorrhage occurred more often in those who

   took mifepristone and misoprostol (51.44%) than in those who took mifepristone alone

   (22.41%).”

           45.     The extensive usage of progesterone in the IVF industry has allowed us to know,

   for decades now, that using natural progesterone in pregnancy is safe. Nevertheless, Plaintiffs’

   doctors errantly speculate, without scientific support, that patients are at increased risk of

   stillbirth or birth defects in their pregnancies when they are exposed to natural progesterone.51

           46.     Dr. Schreiber further states that: “[i]nvestigators also have reported associations

   with hypospadias, a defect in the male infant's genitalia, occurring in the male infants born to

   women who used progestins (synthetic or pharmacologic progesterones) during pregnancy.”52

   Both of these claims are misleading because the studies cited do not use natural progesterone,

   but rather used progestins — synthetic chemicals similar to progesterone in some ways, but



   49
      Aultman K, et al., Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient from
   September 2000 to February 2019, 36 ISSUES L. MED. 3-26 (2021).
   50
      Id.
   51
      ECF 53-6, Schreiber Decl. ¶ 49.
   52
      Id.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 19 of 26 PageID #: 800




   which contain actions and side effects which progesterone does not have53￼ In the end, there is

   simply no evidence that natural progesterone has ever, after decades of its widespread use in

   pregnancy, been shown to increase the risk of birth defects.

           47.      Given the long history of progesterone use in pregnancy, the established safety of

   progesterone use in early pregnancy for both the mother and her fetus in IVF pregnancies, the

   known ability of progesterone to counteract the abortive effects of mifepristone in animal models,

   and the actual evidence of progesterone allowing numerous women to save their babies, it is

   scientifically proper to use this medication in those women who are desperate to save their

   pregnancies after regretting the start of their mifepristone abortion attempt. 54

            48.     In summary, using natural progesterone to counter the effects of ingested

   mifepristone is logical, medically speaking, and founded on basic principles of biochemistry,

   animal studies, and analysis of human experience.

   II.     Plaintiffs’ doctors are wrong to disregard the Delgado and Davenport publications

            49.     Plaintiffs’ doctors argue that Dr. Delgado’s publications are worthless as scientific

   evidence. Although they are not perfect, Dr. Delgado’s efforts, and the many women included

   therein, cannot just be ignored, especially given that no scientific studies to date have been

   performed that point in the opposite direction.

           50.      Dr. Schreiber opines at great length about Institutional Review Board (IRB)

   approval in the 2018 Delgado paper. Similarly, Dr. Schreiber states, without evidence, that the

   2018 Delgado paper was withdrawn. 55 Both are incorrect. The 2018 Delgado paper was

   temporarily removed, but not withdrawn, and it is now restored, published, and available online.



   53
      Soc. for Assisted Reprod. Tech., Progesterone: Risks and Benefits, https://www.sart.org/patients/a-patients-guide-
   to-assissted-reproductive-technology/stimulation/progesterone/.
   54
      Am. Assoc. of Pro-Life Obstet. and Gynecol., Practice Bulletin 6: The Reversal of the Effects of Mifepristone by
   Progesterone 2019, https://aaplog.org/wp-conten/uploads/2020/01/FINAL-PB-6-Abortion-Pill-Reversal-1.pdf
   55
      ECF 53-6, Schreiber, Decl. ¶ 36.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 20 of 26 PageID #: 801




   The final 2018 Delgado paper states clearly: “The study was reviewed and approved by an

   institutional review board.” These complaints are spurious.

           51.      Dr. Schreiber implies there was no control group in the 2018 Delgado

   retrospective chart review.56 This is erroneous. As explained above, there was a historical control

   group previously published in the Davenport paper, which gives the rate of embryo survival after

   the use of mifepristone at 10-23%. Dr. Delgado and his co-authors assumed a survival rate above

   that figure (25%).

            52.     Nevertheless, Dr. Schreiber implies that no valid scientific conclusions can be

   drawn from the 2018 Delgado paper since the underlying data did not include a concurrent placebo

   control group. 57 This is ironic, and rather amazing given that the FDA’s original approval of

   mifepristone as an abortifacient was based on non-blinded, non-randomized studies (Spitz58 and

   French manufacturer data) that also had no concurrent placebo control group. Indeed, the FDA

   statistical review of the application for mifepristone approval for abortion states: “In the absence

   of concurrent control group in each of these studies, it is a matter of clinical judgment whether or

   not the sponsor’s proposed therapeutic regimen is a viable alternative to uterine aspiration for the

   termination of pregnancy.”59

            53.      In my experience reviewing clinical trials of mifepristone abortions around the

   world since 1998, I have never seen a clinical trial of mifepristone abortions which has a

   concurrent placebo control group. Study design for these trials is either historical control, as in the

   Spitz study, or a dose comparison study. Placebo control, in the context of medical abortion, has

   been considered unethical because it would require women who choose an abortion to be given a


   56
      ECF 53-6, Schreiber, Decl. ¶ 25.
   57
      ECF 53-6, Schreiber, Decl. ¶ 24-26.
   58
      I.M. Spitz et al., Early Pregnancy Termination with Mifepristone and Misoprostol in the United States, 338 NEJM,
   1241, 1241-1247 (1998).
   59
      B.C. Calhoun & D.J. Harrison, Challenges to the FDA Approval of Mifepristone, 38 ANN PHARMACOTHER, 163,
   163-68 (2004).
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 21 of 26 PageID #: 802




   placebo rather than a chance at the abortion. The same ethical concerns would obviously apply

   here, where a true control would require giving women seeking reversal a placebo, thus, increasing

   her chances of losing her baby. Dr. Schreiber never acknowledges this seeming double standard,

   or the obvious problem it creates with her current position regarding Dr. Delgado’s publications.

            54.      Dr. Schreiber also claims that the 2018 Delgado paper potentially overestimates

   survival and reversal success rates because an ultrasound was done to determine whether or not

   the child was still alive prior to administering progesterone.60 This is ludicrous. The whole point

   of the 2018 Delgado case series was to determine whether progesterone could keep a human

   embryo alive after exposure to mifepristone. An already dead fetus would have no relevance to

   this question, and it would be absurd and scientifically invalid to administer progesterone in the

   case of a known fetal death or to include those patients in the analysis.

            55.      Dr. Schreiber claims that the design of the 2018 Delgado paper does not conform

   to the expectations of a prospective randomized trial. 61 But the 2018 Delgado study is not a

   prospective randomized trial; rather, it is explicitly a retrospective case series based on a chart

   review. Dr. Schrieber even admits this. 62 Yet, despite acknowledging that the paper is a

   retrospective chart review at 41, Schreiber errantly claims [at para 36] that the paper was a

   prospective analysis,63 and then opines at length how the paper does not fit a prospective analysis.

   This complaint is spurious.

            56.      In addition to all of the other evidence discussed above, the 2018 Delgado case

   series, combined with the Davenport historical control, suggests that progesterone treatment can

   increase her baby’s chance of survival from approximately 25% to approximately 68%. Women

   should be informed of this potentially life-saving treatment, especially given the fact that a reversal


   60
      ECF 53-6, Schreiber, Decl. ¶ 31, 40.
   61
      ECF 53-6, Schreiber, Decl. ¶ 41-45.
   62
      ECF No. 53-6, Schreiber Decl. ¶ 41.
   63
      ECF 53-6, Schrieber Decl. ¶ 36.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 22 of 26 PageID #: 803




   attempt only involves the administration of a known natural hormone that has been safely used in

   the infertility industry for over 50 years. Contrary to Plaintiffs’ doctors’ insinuations, women are

   perfectly capable of understanding nuance and the difference between a proven remedy and a

   potential remedy.

          57.     Women who are truly sure of their decision to abort will not be harmed by

   information about the efficacy of medical abortions and the availability of potential remedies.

   Requiring informed consent to include the possibility of reversal will give women who are unsure,

   or who change their minds, enhanced reproductive options. These women exist, and they deserve

   to know their medical options.
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 23 of 26 PageID #: 804




      I declare under penalty of perjury that the foregoing is true and correct to the best of

      my knowledge.



      This declaration was executed on June 14, 2021.
   Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 24 of 26 PageID #: 805




                                   Dr. Donna Harrison is a physician, board-certified in
                                   obstetrics and gynecology. She is currently serving as
                                   Executive Director of the American Association of Pro-Life
                                   Obstetricians and Gynecologists, the largest non-sectarian
                                   pro-life physician organization in the world, with over 4000
                                   members across the United States, and associate members

DONNA
                                   on every continent. Under her leadership, AAPLOG has
                                   doubled membership, launched the annual Matthew Bulfin
                                   Educational Conference, developed an up to date website

HARRISON                           and social media presence, and launched systematic
                                   outreaches to the medical, legal and policy communities to

M.D.
                                   discuss the effects of abortion on women.

                                   Dr. Harrison’s research interests include Selective
                                   Progesterone Receptor Modulators, Endometrial
EXECUTIVE DIRECTOR                 Contraception, Maternal mortality, and Abortion Mortality
AMERICAN ASSOCIATION               and Morbidity. She has authored peer reviewed papers on
                                   the approval of RU-486 and on Ulipristal (Ella) as well as on
OF PRO-LIFE                        the embryocidal potential of hormonal contraception. Dr.
OBSTETRICIANS AND                  Harrison is a Continuing Medical Education Speaker in the
GYNECOLOGISTS                      United States and internationally on topics of Medical
                                   Abortion with Mifepristone and Misoprostol, Adverse Events
                                   associated with Mifepristone and Misoprostol, Emergency
                                   Contraception with Ulipristal, Maternal Mortality, and
                                   Abortion Morbidity.
CONTACT
                                   She is an Adjunct Professor at Trinity International University in
PHONE:                             Deerfield, IL, teaching post graduate seminars at the annual
202 230-0997                       Center for Bio Ethics and Human Dignity summer workshops.
                                   She is Associate Editor of the peer reviewed medical journal
WEBSITE:                           "Issues in Law and Medicine".
www.aaplog.org                     Dr. Harrison is married to Dr. Mark Harrison M.D, and is the
                                   mother of 5 children and 5 grandchildren.
EMAIL:

donna@aaplog.org
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 25 of 26 PageID #: 806
                   Donna J. Harrison M.D. dip. A.B.O.G. Professional Credentials



PROFESSIONAL CERTIFICATION AND LICENSURE

•   1993-current. Diplomat of the American Board of Obstetrics and Gynecology (ABOG)
•   1986-current. State of Michigan Board of Physician Licensing Unrestricted Medical License
•   1997-1999.    American Institute of Ultrasound in Medicine (AIUM) (voluntary non-renewal)



EDUCATION

Medical Education:

•   1986-1990 Residency in Obstetrics and Gynecology St. Joseph Mercy Hospital, Ypsilanti, MI (affiliate
    of University of Michigan)
•   1982-1986 University of Michigan Medical School, Ann Arbor, MI (top 10% of graduating class)
•   1984 (summer) University of Arizona School of Medicine Tucson, AZ International Health Intensive


Undergraduate Education:

•   1978-1982 Michigan State University, E. Lansing, MI. Honors Biochemistry B.S. + Chemistry B.A.
•   1978 University of Iowa Summer Science Intensive Rocky Mountain and Boundary Waters
•   1977 Michigan State University Summer Science Research Program Soil Science Division




PROFESSIONAL EXPERIENCE

•   2000 – current. American Association of Pro-Life Obstetricians and Gynecologists
    - 2013 - current.      Executive Director
    - 2011 - 2013.         Director of Research and Public Policy
    - 2008 - 2011          President
    - 2006 – 2008          President-Elect
    - 2000 – 2006          Chairman, Subcommittee on Mifepristone (RU-486)

•   Lakeland Regional Health System Affiliate Hospitals

    -   1993-2000 Obstetrician/Gynecologist Private Practice Southwestern Medical Clinic, P.C
              1995-1998   Chairman, Department of Obstetrics and Gynecology
                          Lakeland Regional Health Systems, Berrien Center, MI
              1996-1999 Chairman, Quality Improvement Committee

•   University of Michigan and Affiliate Hospitals

    -   1991-1993      Clinical Associate Professor Obstetrics and Gynecology
        University of Michigan Medical Center 1500 E. Medical Center Dr. Ann Arbor, MI 48109

    - 1991-1993     Obstetrician/Gynecologist Private Practice Leland, Fleming, Dindoffer and
    Associates R2106 Reichert Health Bldg. 5333 McAuley Dr. Ypsilanti, MI 48197
Case 1:21-cv-01231-JPH-MJD Document 57-5 Filed 06/14/21 Page 26 of 26 PageID #: 807
INTERNATIONAL AND DOMESTIC MEDICAL SERVICE

Visiting Lecturer Mt. Hope Nursing Schools (Bamenda and Buea Cameroon) 2014, 2017

Consultant physician, Tet Kole Nan Kris Clinic, Montrois, Haiti. 1989-1994           Trained    community      health
workers and ran indigenous medical clinic.

Volunteer Physician, Hope Clinic, Ypsilanti, MI. 1986-1990 Provided medical care at free clinic for low
income patients.

Visiting Physician, Tiruvalla Medical Mission, Kerala, India. July-Aug, 1988 provided medical and surgical
care. July 1988.

Volunteer Medical Student, Hospital le Bon Samaritan, Limbe, Haiti. June-Aug, l986 provided medical
care at one of the largest hospitals in Northern Haiti.



 ACADEMIC HONORS

 American Business Womens Scholarship recipient 1978

 National Merit Scholar 1978-82

Harry S. Truman Public Policy Scholar 1980-1984

Rhodes Scholarship Competition Semi-Finalist for Ohio 1981



SELECTED PUBLICATIONS
 Doctors Who Perform Abortions: Their Characteristics and Patterns of Holding and Using Hospital Privileges.
 Studnicki J, Longbons T, Fisher JW, Harrison DJ, Skop I, MacKinnon SJ.
 Health Serv Res Manag Epidemiol. 2019 Apr 15;6:2333392819841211. doi: 10.1177/2333392819841211. eCollection
 2019 Jan-Dec. PMID: 31020009
 Danish-like Regulations May Improve Postabortion Mental Health Risk. Sullins DP, Harrison D.
 JAMA Psychiatry. 2019 Jan 1;76(1):99-100. doi: 10.1001/jamapsychiatry.2018.2602. No abstract available.
 PMID:30422159
 Treatment of an Ectopic Pregnancy: An Ethical Reanalysis. Condic ML, Harrison D.
 Linacre Q. 2018 Aug;85(3):241-251. doi: 10.1177/0024363918782417. Epub 2018 Jun 18.PMID:30275609
 A second opinion: response to 100 professors. Wechter D, Harrison D, Adams R Sr, Beard S, Blaskiewicz R, Bush F,
 Calhoun B, Cirucci CA, Christiansen S, Cook C, Davenport M, DeCook J, Delgado G, Dood JJ, Dotto M, Dumpe K,
 Friedman WH, Glass T, Gray TL, Gray JP, Hale KA, Hersh C, Hines J, Jackson A, Johannson J, Keenan JA, Linn J, Long
 JD, Marshall JF, McDonald DP, McCloskey L, Mickelson J, Pestoff MR, Parker EW Jr, Sawyer AT, Schwering C, Seale F,
 Schoutko W, Showalter A, Skakalski T, Skop I, Smith LF, Stalter W, Steele A, Thiele SA, Varasteh N, Ward DG, Wittingen
 JA. Issues Law Med. 2014 Spring;29(1):147-64.PMID:25189014
 No Prenatal Diagnosis = Saved Lives.
 Rodriguez E, Harrison DJ. Linacre Q. 2012 Feb;79(1):7-8. doi: 10.1179/002436312803571492. Epub 2012 Feb 1. No
 abstract available. PMID:30082954
 Introduction to the International Working Group for Global Women's Health Research 2010 Symposium Proceedings.
 Harrison DJ. Linacre Q. 2011 May;78(2):190-191. doi: 10.1179/002436311803888429. Epub 2011 May 1. No abstract
 available. PMID:30082942
 Defining reality: the potential role of pharmacists in assessing the impact of progesterone receptor modulators and
 misoprostol in reproductive health. Harrison DJ, Mitroka JG. Ann Pharmacother. 2011 Jan;45(1):115-9. doi:
 10.1345/aph.1P608. Epub 2010 Dec 21. PMID: 21177418
 Analysis of severe adverse events related to the use of mifepristone as an abortifacient. Gary MM, Harrison DJ. Ann
 Pharmacother. 2006 Feb;40(2):191-7. Epub 2005 Dec 27. PMID: 16380436
 Challenges to the FDA approval of mifepristone. Calhoun BC, Harrison DJ.Ann Pharmacother. 2004 Jan;38(1):163-8. No
 abstract available. PMID:14742814
